 USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 1 of 13


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA


                                                              CASE NO.:
DAIMEON MOSLEY,
                                                              INJUNCTIVE RELIEF SOUGHT
        Plaintiff,

VS.


KOHL'S DEPARTMENT STORES, INC.,
d/b/a KOHL'S,

        Defendant.
                                                      /

                                           COMPLAINT

        Plaintiff, DAIMEON MOSLEY ("Plaintiff'), by and through undersigned counsel, hereby

files this Complaint and sues KOHL'S DEPARTMENT STORES, INC. d/b/a KOHL'S

("Defendant") for declaratory and injunctive relief, attorneys' fees, expenses and costs (including,

but not limited to, court costs and expert fees) pursuant to 42 U.S.C. §12182 et. seq., and the 2010

Americans with Disabilities Act ("ADA"), and alleges as follows:

                                 JURISDICTION AND VENUE

        1.     This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

§1331 for Plaintiffs claims arising under Title 42 U.S.C. §12182 et. seq., based on Defendant's

violations of Title III of the ADA. See also 28 U.S.C. §§2201 and 2202 as well as the 2010 ADA

Standards.

       2.      Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) and the Internal

Operating Procedures for the United States District Court of the Northern District of Indiana, in

that all events giving rise to the lawsuit occurred in St. Joseph County, Indiana.




                                                 1
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 2 of 13


                                              PARTIES

        3.      Plaintiff, DAIMEON MOSLEY, is a resident of the state of Arizona, Maricopa

County, is permanently disabled at all times relevant and material to this lawsuit, and is otherwise

sui juris.

        4.      Upon information and belief, Defendant is the lessee, operator, owner and/or lessor

of the Real Property, which is subject to this lawsuit, and is located at 4410 Grape Road,

Mishawaka, Indiana 46545 ("Property 1") and is the owner of the improvements where Property

1 is located.

        5.      Upon information and belief, Defendant is the lessee, operator, owner and/or lessor

of the Real Property, which is subject to this lawsuit, and is located at 2415 Sagamore Parkway,

Lafayette, Indiana 47905 ("Property 2") and is the owner of the improvements where Property 2

is located.

        6.      Property 1 and Property 2 are hereinafter referred to collectively as "Premises".

        7.      The Premises are places of public accommodation.

        8.      Defendant is authorized to conduct, and is in fact conducting, business within the

state of Indiana.

        9.      Plaintiff is an individual with numerous permanent disabilities, including but not

limited to, permanent paralysis, degenerative discs and seoliosis caused by his being infected with

the West Nile Virus in 2003. These conditions cause Plaintiff to suffer from sudden onsets of

severe pain, experience seizures and require Plaintiff to use a mobility device, all of which

substantially limits Plaintiffs major life activities. Plaintiff, as both a performer in a music band

that tours and as an individual, visits Indiana and will certainly return in the future. Plaintiff also




                                                  2
 USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 3 of 13


has family that resides in Kalamazoo, Michigan, and he travels to the surrounding areas of Illinois

and Michigan.

        10.     At the time of Plaintiff's visits to Property 1 on both August 3, 2016 and July 18,

2017 and Property 2 on August 1, 2016 (and prior to instituting this action), Plaintiff suffered from

a "qualified disability" under the ADA and required accessible means of entry at the Premises.

Plaintiff personally visited the Premises, but was denied full and equal access and full and equal

enjoyment of the facilities, services, goods and amenities within the Premises, even though he was

a "bona fide patron".

        11.     Plaintiff, in his individual capacity, will absolutely return to the Premises and avail

himself to the services offered at the Premises in the future once Defendant modifies the Premises

or modifies the policies and practices to accommodate individuals who have physical disabilities.

        12.     Plaintiff is continuously aware of the violations at Defendant's Premises and is

aware that it would be a futile gesture to return to the Premises as long as those violations exist,

and Plaintiff is not willing to suffer additional discrimination.

        13.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

result of Defendant's discrimination until Defendant is compelled to comply with the requirements

of the ADA.

       14.     Plaintiff would like to be able to be a patron of the Premises in the future and be

able to enjoy the goods and services that are available to the able-bodied public, but is currently

precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

at the Premises to eliminate the discrimination against persons with physical disabilities.




                                                  3
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 4 of 13


        15.     Completely independent of his personal desire to have access to this place of public

accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the purpose of

discovering, encountering and engaging discrimination against the disabled in public

accommodations. When acting as a "tester", Plaintiff employs a routine practice. Plaintiff

personally visits the public accommodation; engages all of the barriers to access, or at least of

those that Plaintiff is able to access; tests all of those barriers of access to determine whether and

the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

discrimination; and subsequently returns to the Premises to verify its compliance or non-

compliance with the ADA and to otherwise use the public accommodation as members of the able-

bodied community are able to do. Independent of other subsequent visits, Plaintiff also intends to

visit the Premises regularly to verify its compliance or non-compliance with the ADA, and its

maintenance of the accessible features of the Premises. In this instance, Plaintiff, in Plaintiffs

individual capacity and as a "tester", visited the Premises, encountered barriers to access at the

Premises, engaged and tested those barriers, suffered legal harm and legal injury, and will continue

to suffer such harm and injury as a result of the illegal barriers to access and the ADA violations

set forth herein. It is Plaintiffs belief that said violations will not be corrected without Court

intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

       16.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

Defendant modifies the Premises or modifies the policies and practices to accommodate

individuals who have physical disabilities to confirm said modifications have been completed in

accordance with the requirements of the ADA.




                                                  4
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 5 of 13


                VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

        17.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 16

above as if fully stated herein.

       18.       On July 26, 1990, Congress enacted the Americans With Disabilities Act ("ADA"),

42 U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

enactment of the statute to implement its requirements. The effective date of Title III of the ADA

was January 26, 1992, or January 26, 1993 if Defendant has ten (10) or fewer employees and gross

receipts of $500,000.00 or less. See 42 U.S.C. §12182; see also 28 C.F.R. §36.508(a).

       19.       Congress found, among other things, that:

             a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                this number shall increase as the population continues to grow older;

             b. historically, society has tended to isolate and segregate individuals with disabilities

                and, despite some improvements, such forms of discrimination against disabled

                individuals continue to be a pervasive social problem, requiring serious attention;

           c. discrimination against disabled individuals persists in such critical areas as

                employment, housing, public accommodations, transportation, communication,

                recreation, institutionalization, health services, voting and access to public services

                and public facilities;

           d. individuals with disabilities continually suffer forms of discrimination, including

                outright intentional exclusion, the discriminatory effects of architectural,

                transportation, and communication barriers, failure to make modifications to

                existing facilities and practices, exclusionary qualification standards and criteria,




                                                   5
 USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 6 of 13


                 segregation, and relegation to lesser services, programs, benefits, or other

                 opportunities; and

             e. the continuing existence of unfair and unnecessary discrimination and prejudice

                 denies people with disabilities the opportunity to compete on an equal basis and to

                 pursue those opportunities for which our country is justifiably famous, and costs

                the United States billions of dollars in unnecessary expenses resulting from

                dependency and nonproductivity.

42 U.S.C. §12101(a)(1)-(3),(5) and (9).

       20.      Congress explicitly stated that the purpose of the ADA was to:

             a. provide a clear and comprehensive national mandate for elimination of

                discrimination against individuals with disabilities;

             b. provide clear, strong, consistent, enforceable standards addressing discrimination

                against individuals with disabilities; and

             c. invoke the sweep of congressional authority, including the power to enforce the

                fourteenth amendment and to regulate commerce, in order to address the major

                areas of discrimination faced on a daily basis by people with disabilities.

42 U.S.C. §12101(b)(1)(2) and (4).

       21.      Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

Defendant's Premises is a place of public accommodation covered by the ADA by the fact it

provides services to the general public and must be in compliance therewith.

       22.      Defendant has discriminated, and continues to discriminate against Plaintiff and

others who are similarly situated by denying access to and full and equal enjoyment of goods,

services, facilities, privileges, advantages and/or accommodations located at the Premises, as



                                                 6
 USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 7 of 13


prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove

architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

        23.     Plaintiff has visited the Premises and has been denied full and safe equal access to

the facilities, and therefore suffered an injury in fact.

        24.     Plaintiff will return and enjoy the goods and/or services at the Premises on a

spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by Defendant's

failure and refusal to provide persons with disabilities with full and equal access to its facilities at

the Premises. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

architectural barriers that are in violation of the ADA.

        25.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General promulgated Federal Regulations to implement the

requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA Accessibility

guidelines (hereinafter referred to as "ADAAG"), 28 C.F.R. Part 36, under which said Department

may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00 for each

subsequent violationl.

        I.      Property 1.

        26.     Based on a preliminary inspection of Property 1, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found:




1 Effective
          April 1, 2014 the civil penalties were increased, based on inflation, from $55,000.00 to
$75,000.00 for the first violation and from $110,000.00 to $150,000.00 for subsequent violations.
See 28 C.F.R. §§36 and 85.


                                                   7
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 8 of 13


     Men's Restroom

        a. Failing to provide the proper spacing between a grab bar and an object projecting

            out of the wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609,

            609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of the 1991 ADA Standards.

        b. Failing to provide toilet paper dispensers in the proper position in front of the water

           closet or at the correct height above the finished floor in violation of 2010 ADAAG

           §§604, 604.7 and 309.4 and/or §4.16.6 of the 1991 ADA Standards.

        c. Failing to provide a toilet cover dispenser at the correct height above the finished

           floor in violation of 2010 ADAAG §§606, 606.1 and 308 and/or §§4.16.6, 4.22.7,

           4.23.7, 4.27 and 4.27.3 of the 1991 ADA Standards.

       d. Failing to provide the water closet in the proper position relative to the side wall or

           partition in violation of 2010 ADAAG §§604 and 604.2 and/or §§4.16, 4.17.2 and

           4.17.3 of the 1991 ADA Standards.

       e. Failing to provide proper knee clearance for a person with a disability under a

           counter or sink element in violation of 2010 ADAAG §§306, 306.1, 306.3 and

           306.3.1 and/or §4.24.3 of the 1991 ADA Standards.

       f. Failing to provide an additional accessible toilet compartment complying with 2010

           ADAAG §604.8.2 when there are six (6) or more water closets or urinals in any

           combination in violation of 2010 ADAAG §§213, 213.3 and 213.3.1 and/or §§4.22,

           4.22.1, 4.22.4 and 4.23.4 of the 1991 ADA Standards.

       g. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

           exceeding the limits for a person with a disability in violation of 2010 ADAAG




                                             8
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 9 of 13


                 §§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA

                 Standards.

        II.      Property 2.

       27.       Based on a preliminary inspection of Property 2, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found:

       Men's Restroom

              a. Providing sinks and/or countertops greater than 34 inches high or providing the

                 same without clear space underneath to allow for knee or toe clearance in violation

                 of 2010 ADAAG §§305, 306, 306.2, 306.3, 606, 606.2 and 606.3 and/or §§4.32.3

                 and 4.32.4 of the 1991 ADA Standards.

              b. Failing to provide the proper spacing between a grab bar and an object projecting

                 out of the wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609,

                 609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of the 1991 ADA Standards.

              c. Failing to provide grab bars at 33 inches minimum and 36 inches maximum above

                 the finished floor measured to the top of the gripping surface in violation of 2010

                 ADAAG §§604, 604.5, 609 and 609.4 and/or §§4.17.6, 4.26 and 4.26.2 of the 1991

                 ADA Standards.

              d. Failing to provide mirror(s) located above lavatories or countertops at the proper

                 height above the finished floor in violation of 2010 ADAAG §§603 and 603.3

                 and/or §§4.19 and 4.19.6 of the 1991 ADA Standards.




                                                  9
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 10 of 13


             e. Failing to provide a toilet cover dispenser at the correct height above the finished

                  floor in violation of 2010 ADAAG §§606, 606.1 and 308 and/or §§4.16.6, 4.22.7,

                  4.23.7, 4.27 and 4.27.3 of the 1991 ADA Standards.

             f. Failing to provide the flush controls on the open side of the water closet in violation

                  of 2010 ADAAG §§604, 604.6, 604.8.2 and 604.9.5 and/or §§4.18.4 and A4.16.5

                  of the 1991 ADA Standards.

             g. Failing to provide the water closet seat at the correct height above the finished floor

                  in violation of 2010 ADAAG §§604 and 604.4 and/or §§4.16 and 4.16.3 of the 1991

                  ADA Standards.

             h. Failing to provide proper knee clearance for a person with a disability under a

                  counter or sink element in violation of 2010 ADAAG §§306, 306.1, 306.3 and

                  306.3.1 and/or §4.24.3 of the 1991 ADA Standards.

             i. Failing to provide an additional accessible toilet compartment complying with 2010

                  ADAAG §604.8.2 when there are six (6) or more water closets or urinals in any

                  combination in violation of 2010 ADAAG §§213, 213.3 and 213.3.1 and/or §§4.22,

                  4.22.1, 4.22.4 and 4.23.4 of the 1991 ADA Standards.

             j.   Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                  exceeding the limits for a person with a disability in violation of 2010 ADAAG

                  §§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA

                  Standards.

       28.        To the best of Plaintiffs belief and knowledge, at the time of filing this lawsuit

Defendant has failed to eliminate the specific violations set forth in paragraphs 26 and 27 above.




                                                  10
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 11 of 13


        29.     Although Defendant is charged with having knowledge of the violations, Defendant

may not have had actual knowledge of said violations until this Complaint made Defendant aware

of same.

        30.    To date, the readily achievable barriers and violations of the ADA still exist and

have not been remedied or altered in such a way as to effectuate compliance with the provisions

of the ADA.

        31.    As the owner, lessor, lessee or operator of the Premises, Defendant is required to

comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

obligation to remove architectural barriers at the Premises where removal was readily achievable,

as required by 28 C.F.R. §36.402.

       32.     To the extent the Premises, or portions thereof, were constructed for occupancy

after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation

to design and construct such Premises such that it is readily accessible to and usable by individuals

with disabilities, as required by 28 C.F.R. §36.401.

       33.     Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant

was required to make its Premises, places of public accommodation, accessible to persons with

disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant has failed

to comply with this mandate.

       34.     Plaintiff has retained undersigned counsel for the filing and prosecution of this

action. Plaintiff is entitled to have his reasonable attorneys' fees, costs and expenses paid by

Defendant, pursuant to 42 U.S.C. §12205.




                                                 11
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 12 of 13


        35.      The violations alleged in paragraphs 26 and 27 above are readily achievable to

modify in order to bring the Premises or the Facilities/Properties into compliance with the ADA.

        36.      In the instances where the 2010 ADAAG standards do not apply to the violations

listed in paragraphs 26 and 27 above, the 1991 ADAAG standards apply.

       37.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff's injunctive relief, including entering an order to alter the Premises to make them readily

accessible to and useable by individuals with disabilities to the extent required by the ADA and

closing the Premises until the requisite modifications are completed.

       WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

injunctive and declaratory relief:

             1. This Court declare that the Premises owned, operated and/or controlled by

                Defendant are in violation of the ADA;

             2. This Court enter an Order requiring Defendant to alter its facilities to make them

                accessible to and usable by individuals with disabilities to the full extent required

                by Title III of the ADA;

           3. This Court enter an Order directing Defendant to evaluate and neutralize its

                policies, practices and procedures toward persons with disabilities, for such

                reasonable time so as to allow Defendant to undertake and complete corrective

                procedures to the Premises;

           4. This Court award reasonable attorneys' fees, all costs (including, but not limited to

                the court costs and expert fees) and other expenses of suit to the Plaintiff; and

           5. This Court award such other and further relief as it may deem necessary, just and

                proper.



                                                 12
USDC IN/ND case 3:17-cv-00924-JD-MGG document 1 filed 12/11/17 page 13 of 13


Date:          12/11/2017

                                               Respectfully Submitted:


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2   Admitted to the District Court of Indiana and is in good standing.
                                                  13
